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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

 KEITH OLEARY, TIMOTHY SHAW, and
 NATHAN HAVILAND on behalf of
 themselves and, all others similarly situated,

                Plaintiffs,
                                                  CASE NO.: 19-CV-80647-WJ
 vs.

 HCA HEALTHCARE, INC., a Delaware
 Corporation d/b/a HCA FLORIDA,
 POINCIANA MEDICAL CENTER, INC.,
 a Florida Corporation; FORT WALTON
 BEACH MEDICAL CENTER, INC.,
 a Florida Corporation; PALMS WEST
 HOSPITAL LP, a Delaware Limited
 Partnership and NORTH FLORIDA
 DIVISION I, INC., a Florida Corporation;
 and, EAST FLORIDA DIVISION, INC.,
 a Florida Corporation

                Defendants.
 __                                     /

        DEFENDANT HOSPITALS’ UNOPPOSED MOTION FOR LEAVE TO FILE
         UNDER SEAL UNREDACTED MOTION TO DISMISS AND EXHIBITS

         Defendants Poinciana Medical Center, Inc. (“Poinciana”), Fort Walton Beach Medical

  Center, Inc. (“Fort Walton Beach”) and Palms West Hospital Limited Partnership            (Palms

  West”) (collectively, the “Defendant Hospitals”), pursuant to Rule 5.2(d) of the Federal Rules of

  Civil Procedure, Rule 5.4 of the Local Rules of this Court, hereby move for leave to file certain

  portions of their Motion to Dismiss (the “Motion to Dismiss”) and certain exhibits attached

  thereto (the “Exhibits”) unredacted and under seal as described herein.
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  I.       Identification and Description of Each Item to Be Filed Under Seal.

           The Defendant Hospitals move for leave to file an unredacted copy of their Motion to

  Dismiss and the following exhibits to their Motion to Dismiss, under seal, through the closure of

  this case:

       •   Exhibit 1: Haviland Conditions of Admission contract [REDACTED];

       •   Exhibit 2: Haviland Uninsured Patient Information Document [REDACTED];

       •   Composite Exhibit 3: Declaration of Records Custodian of Poinciana (“Poinciana

           Decl.”) [REDACTED];

               o Exhibit 3-1: Haviland Patient Statement dated February 21, 2017 [REDACTED];

               o   Composite Exhibit 3-2: (i) Form “1279” letter; (ii) Haviland Itemized Statement

                   of Charges [REDACTED];

       •   Exhibit 4: Shaw Conditions of Admission contract [REDACTED];

       •   Composite Exhibit 5: Declaration of Records Custodian of Palms West Hospital

           (“Palms West Decl.”) [REDACTED];

               o Composite Exhibit 5-1: Shaw Itemizations of Hospital Services, dated January

                   25, 2019, and January 30, 2019 [REDACTED];

       •   Exhibit 6: Oleary’s Conditions of Admission contract [REDACTED];

       •   Composite Exhibit 7: Declaration of Records Custodian of Fort Walton Beach Medical

           Center (“FWBMC Decl.”) [REDACTED];

               o Composite Exhibit 7-1: (i) Oleary UB-04; (ii) Oleary EOB [REDACTED];

               o Exhibit 7-2: Oleary Patient Statement [REDACTED]; and

               o Composite Exhibit 7-3: (i) Form “1279” letter; (ii) Oleary Itemized Statement of

                   Charges [REDACTED];



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  (collectively, the “Exhibits”). The Defendant Hospitals’ Motion to Dismiss and the Exhibits

  contain protected health information and/or personally identifiable information subject to the

  Health Insurance Portability and Accountability Act of 1996, 42 U.S.C. §§ 1301 et seq., and the

  rules promulgated thereunder (“HIPAA”). The HIPAA-protected information contained in the

  Hospital Defendants’ Motion to Dismiss and Exhibits include Plaintiffs’ dates of birth, medical

  record numbers, addresses, procedure codes, dates of services and account numbers. Only the

  information required to be maintained confidential pursuant to HIPAA has been redacted from

  the Motion to Dismiss and the Exhibits.

  II.    Reason That Filing Each Item is Necessary.

         The Exhibits are cited and referenced in the Defendant Hospitals’ Motion to Dismiss.

  The Condition of Admission contracts and billing communications are cited by Plaintiffs in their

  Class Complaint and Demand for Jury Trial, but not attached. The Court should have the

  opportunity to review these documents in their entirety in considering the Defendant Hospitals’

  Motion to Dismiss. Therefore, it is necessary for the Defendant Hospitals to file their Motion to

  Dismiss with the Exhibits.

         As previously noted, the Motion to Dismiss and Exhibits contain information that is

  protected pursuant to HIPAA, and, specifically, containing protected HIPAA identifiers. In

  order to continue to protect Plaintiffs’ confidential information, the Defendant Hospitals seek to

  seal the unredacted versions of the Motion to Dismiss and Exhibits. The Court may properly

  review such materials at the motion to dismiss stage, as the Defendant Hospitals’ Motion to

  Dismiss is brought pursuant to both 12(b)(1) and 12(b)(6). For purposes of a Rule 12(b)(1)

  factual attack on jurisdiction, the Court may consider extrinsic documents. See Morrison v.

  Amway Corp., 323 F.3d 920, 924 n.5 (11th Cir. 2003). Alternatively, for purposes of a motion to




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  dismiss brought pursuant to Rule 12(b)(6), the court may consider a document attached to a

  without converting the motion into one for summary judgment if the attached documents are (1)

  central to the plaintiff’s claim and (2) undisputed. Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir.

  2005).    Here, the documents go either to the question of whether there is a live case or

  controversy before the Court, or alternatively, are documents central to the matter in dispute, but

  not otherwise attached to the Complaint.

  III.     Reason that a Means Other Than Sealing is Unavailable or Unsatisfactory to
           Preserve the Interest Advanced by the Movant in Support of the Seal.

           Sealing the unredacted versions of the Motion to Dismiss and Exhibits is necessary to

  maintain the confidentiality of Plaintiffs’ protected health information and personally identifiable

  information. Given that it is necessary to cite to these Exhibits, there is no means other than

  sealing that would protect the confidentiality of the information set forth therein.

  IV.      Proposed Duration of the Requested Sealing.

           The Defendant Hospitals request that the unredacted Motion to Dismiss and Exhibits

  remain under seal until further order of the Court and through the closure of this case.

  V.       Memorandum of Legal Authority Supporting the Seal.

           The Defendant Hospitals are covered entities, which is subject to the stringent

  requirements of HIPAA. See 45 C.F.R. § 160.103. HIPAA is designed to maintain patient’s

  protected health information and personally identifiable information strictly confidential. Pena v.

  Marcus, Case No. 6:15-cv-69-ORL-18TBS, 2016 WL 10891560, at *2 (M.D. Fla. Nov. 4, 2016)

  (citing OPIS Management Resources, LLC v. Secretary, Florida Agency for Health Care Admin.,

  713 F.3d 1291, 1293 (11th Cir. 2013)).

           Good cause exists for sealing these documents.        The sealing of this information is

  requested to prevent the disclosure of Plaintiffs’ private information. The sealing of a patient’s



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  protected health information is appropriate as the “only viable means of protecting [a] Plaintiff’s

  privacy interest in her medical records.” Id.

         Further, no party will be prejudiced by the relief sought herein.

         WHEREFORE, Poinciana Medical Center, Inc., Fort Walton Beach Medical Center, Inc.

  and Palms West Hospital Limited Partnership respectfully move for their unredacted Motion to

  Dismiss and Exhibits to be filed under seal through the closure of this case

                                  Local Rule 7.1(a)(3) Certification

         Pursuant to Local Rule 7.1.(a)(3), the undersigned certifies that counsel for the Defendant

  Hospitals has conferred with counsel for Plaintiffs via email in a good faith effort to resolve the

  issues raised by this motion. Plaintiffs’ counsel agrees with the relief sought herein.

   Dated: June 14, 2019                            Respectfully Submitted,

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                                                   Palms West Hospital Limited Partnership




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                                 CERTIFICATE OF SERVICE

         I CERTIFY THAT, on this 14th day of June, 2019 I electronically filed the foregoing

  document with the Clerk for the United States District Court, Southern District of Florida. The

  electronic case filing system (CM/ECF) will send a Notice of Electronic Filing (NEF) to the

  attorneys of record.

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                                                 By: /s/ Walter J. Taché
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